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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

Debra Griesenauer,                             )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )         Case No. 4:14-cv-1391-RLW
                                               )
Millsap and Singer, P.C.                       )         Plaintiff’s 1st Amended Complaint
                                               )
                                               )
                                               )
                                               )         JURY TRIAL DEMANDED
                                               )
                       Defendants.             )

                  PLAINTIFF’S FIRST AMENDED COMPLAINT

                                          JURISDICTION

1.      Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §

        1692k(d), and pursuant to 28 U.S.C. § 1367 for pendent state law claims.

2.      This action arises out of Defendant’s violations of the Fair Debt Collection Practices Act, 15

        U.S.C. § 1692 et seq. (“FDCPA”).

3.      Venue is proper in this District because the acts and transactions occurred here, Plaintiff

        resides here, and Defendant transacts business here.

                                             PARTIES

4.      Plaintiff, Debra Griesenauer (hereinafter “Plaintiff Griesenauer” or “Plaintiff”), is a natural

        person who resides in the City of Foley, County of Lincoln, State of Missouri.

5.      On or about December 21, 2006, Plaintiff signed a Note and Deed of Trust as A SINGLE

        PERSON to finance work to be done on her primary residence and is a “consumer” as that



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        term is defined by 15 U.S.C. § 1692a(3), and/or a person affected by a violation of the

        FDCPA with standing to bring this claim under 15 U.S.C. §§ 1692k(a).

6.      Defendant Millsap and Singer, P.C. (hereinafter “Defendant”) is a collection law firm

        incorporated under the laws of the State of Missouri whose principal address is 612 Spirit

        Drive, St. Louis, MO 63005 and its registered agent Vernon D. Singer can be served at

        same.

7.      Defendant regularly accepts accounts that are in default from mortgage clients for the

        purpose of attempting to collect, directly or indirectly, a debt owed to the mortgage client.

8.      Defendant has a long history of sending correspondence to consumers in an effort to collect

        debts that are in default.

9.      Defendant also has a long history of initiating non-judicial foreclosure actions to enforce

        security interests in property.

10.     In addition to efforts to collect debts through foreclosure proceedings, as part of its principal

        activities, Defendant regularly initiates actions to collect defaulted debt on behalf of others

        through Chapter 13 bankruptcy proceedings by preparing and filing proof of claims in an

        attempt to collect mortgage arrearages.

11.     Between the dates of April 7, 2014 and April 25, 2014, Defendant filed four such proof of

        claims just in the U.S. Bankruptcy Court for the Eastern District of Missouri alone claiming

        a total of more than $47,919.23 in mortgage arrearages including attorney fees and costs

        stating to the Court in documents filed that it is the attorney for the creditor.

12.     Based on the foregoing, Defendants principal activities include the collection of debts for

        others and regularly collecting or attempting to collect, directly or indirectly, debts owed or




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      due or asserted to be owed or due another and therefore is a “debt collector” as that term is

      generally defined under 15 U.S.C. 1692a(6).

13.   On or about May 28, 2014 Defendant sent a foreclosure letter addressed to Plaintiff’s ex-

      husband regarding Plaintiff’s default on her mortgage payments and pending foreclosure

      sale making said letter a prohibited communication with third parties under 15 U.S.C. §

      1692c(B).

14.   As a person affected by a violation of the FDCPA, Plaintiff Griesenauer has standing to

      bring this claim.

                                FACTUAL ALLEGATIONS

15.   On or about April 5, 2005, Plaintiff was the recipient of a General Warranty Deed for real

      estate located at 565 McIntosh Hill Road, Foley, MO 63347 (hereinafter “Residence”)

      from a Troy M & Donna M. Brown.

16.   On the same date, Plaintiff and her now ex-husband, Gregory J. Griesenaurer, officially

      separated and Plaintiff moved into the Residence.

17.   On or about April 13, 2005, Plaintiff caused the General Warranty Deed to be recorded

      with the Lincoln County, Missouri Recorder of Deeds office.

18.   On or about April 19, 2005, Plaintiff and her ex-husband were legally divorced and

      Plaintiff was awarded the Residence as her separate, non-marital property.

19.   Plaintiff’s ex-husband has never been an owner of record of the Residence nor has he

      ever lived at the Residence or been subject to any indebtedness securing any interest in

      the Residence.




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20.   On or about December 21, 2006, Plaintiff signed a Note and Deed of Trust in order to

      secure a loan on the Residence in favor of DAS Acquisition. The Deed of Trust was duly

      recorded on or about January 25, 2007.

21.   Sometime after January 25, 2007, the Note and Deed of Trust was consigned, placed or

      otherwise transferred to JP Morgan Chase.

22.   Plaintiff’s ex-husband was never placed on the Note, co-signed, applied for credit,

      appeared on the Deed of Trust, or became beholden to the mortgage lender in any way.

23.   Sometime prior to May 28, 2014, Plaintiff defaulted on her Note and Deed of Trust and

      JP Morgan Chase turned over the defaulted debt to Defendant for collection as well as to

      enforce its security interest in the Residence.

24.   On or about May 28, 2014, Defendant addressed a letter titled “Notice of Trustee’s Sale”

      to Plaintiff’s ex-husband, a Third Party, at Plaintiff’s Residence at which he has never

      lived informing him that Plaintiff was “in default of payment for the mortgage on the

      property and since the payments are presently more than one month in arrears, the legal

      holder of the Note has exercised the option of declaring the remainder of the debt to be

      due and payable, as provided in the Deed of Trust.” A copy of the letter is attached hereto

      as Exhibit 1.

25.   Defendant went on to inform a Third Party that the Residence would be sold at a

      foreclosure sale on June 27, 2014 at 11:10 am at the Troy Court House.

26.   Plaintiff resided at the location until May 31, 2014, separate from her ex-husband.

27.   These attempts by Defendant to collect the debt by notifying a Third Party were

      violations of numerous and multiple provisions of the FDCPA, including but not limited

      to 15 USC 1692c(B), 1692d, 1692d(3), 1692e, 1692e(10) and 1692f amongst others.




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                                                 Summary

28.   The above-described collection communication, made to a Third Party without the prior

      consent of Plaintiff given directly to Defendant or the express permission of a court of

      competent jurisdiction, by Defendant was made in violation of numerous and multiple

      provisions of the FDCPA, including but not limited to all of the provisions of the FDCPA

      cited herein.

29.   The above-detailed conduct by Defendant of harassing Plaintiff in an effort to collect this

      debt was a violation of numerous and multiple provisions of the FDCPA, including but not

      limited to all of the above mentioned provisions of the FDCPA, as well as an invasion of

      Plaintiff’s privacy by knowingly and deliberately attempting to communicate with an

      unauthorized Third Party.

30.   Plaintiff has suffered actual damages as a result of Defendant’s illegal collection

      communication in the form of anger, anxiety, emotional distress, fear, frustration, upset,

      humiliation, embarrassment, amongst other negative emotions, as well as suffering from

      unjustified and abusive invasions of personal privacy.

31.   Defendants attempt to collect this debt from Plaintiff’s ex-husband, a person whom did not

      owe this debt, was an invasion of Plaintiff’s privacy and her right to be left alone.

                                        TRIAL BY JURY

32.   Plaintiff Griesenaur is entitled to and hereby respectfully demands a trial by jury on all

      issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.

                                     CAUSES OF ACTION

                                            COUNT I.

        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT




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                                    15 U.S.C. § 1692 et seq.

33.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

34.   The foregoing acts and omissions of Defendant and its agents constitute numerous and

      multiple violations of the FDCPA including, but not limited to, each and every one of the

      above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff.

35.   As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to actual

      damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to

      $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and

      costs pursuant to 15 U.S.C. § 1692k(a)(3), from each Defendant herein.

                                          COUNT II.

       INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY

        REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

36.   Plaintiff incorporates by reference all of the paragraphs of this Complaint as though fully

      stated herein.

37.   Congress explicitly recognized a consumer’s inherent right to privacy in collection

      matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

      findings:

             Abusive debt collection practices contribute to the number of personal

             bankruptcies, to marital instability, to the loss of jobs, and to invasions of

             individual privacy.

      15 U.S.C. § 1692(a) (emphasis added).




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38.   Congress further recognized a consumer’s right to privacy in financial data in passing the

      Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for a

      broad range of “financial institutions” including debt collectors, albeit without a private

      right of action, when it stated as part of its purposes:

              It is the policy of the Congress that each financial institution has an

              affirmative and continuing obligation to respect the privacy of its

              customers and to protect the security and confidentiality of those

              customers’ nonpublic personal information.

      15 U.S.C. § 6801(a) (emphasis added).

39.   Defendant intentionally and/or negligently interfered, physically or otherwise, with the

      solitude, seclusion and or private concerns or affairs of Plaintiff, namely, by knowingly

      and unlawfully attempting to collect a debt from an unauthorized Third Party and thereby

      invaded Plaintiff’s privacy.

40.   Defendant also intentionally and/or negligently interfered, physically or otherwise, with

      the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely, by

      knowingly and unlawfully attempting to contact third parties about this debt, and thereby

      invaded Plaintiff’s right to financial privacy.

41.   Defendant intentionally and/or negligently caused emotional harm to Plaintiff by

      engaging in highly offensive conduct in the course of collecting this debt, thereby

      invading and intruding upon Plaintiff’s rights to privacy.

42.   Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude, seclusion, private

      concerns or affairs, and private financial information.




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43.   The conduct of Defendant, in engaging in the above-described illegal collection conduct

      against Plaintiff, resulted in an intrusion and invasion of privacy by Defendant which

      occurred in a way that would be highly offensive to a reasonable person in that position.

44.   As a result of such intrusion and invasion of privacy, Plaintiff is entitled to actual

      damages in an amount to be determined at trial from Defendant.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                                            COUNT I.

          VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                     15 U.S.C. § 1692 et seq.

      •    for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against each

           Defendant and for Plaintiff;

      •    for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

           §1692k(a)(2)(A) against each Defendant and for Plaintiff;

      •    for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

           1692k(a)(3) against each Defendant and for Plaintiff;

                                            COUNT II.

      INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY

          REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

      •    for an award of actual damages from each Defendant for the emotional distress suffered

           as a result of the intentional and/or negligent FDCPA violations and intentional and/or

           negligent invasions of privacy in an amount to be determined at trial and for Plaintiff;




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                                  Respectfully submitted,

                                  CASTLE LAW OFFICE OF ST. LOUIS, P.C.

                               By:/s/James R. Brown__________________________
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